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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

  CRUISE PARTNERS, LLC, a
  Pennsylvania limited liability company,
                                                         Case No. 21-cv-20604
         Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES LTD., a
  foreign corporation.

        Defendant.
  ______________________________________

                   STIPULATION FOR SUBSTITUTION OF COUNSEL
                  FOR DEFENDANT ROYAL CARIBBEAN CRUISES LTD

        Defendant Royal Caribbean Cruises Ltd. (“RCCL”), files this Stipulation for Substitution

 of Counsel, and requests that David M. Levine, Esq., and Paola Sanchez Torres, Esq. of Sanchez

 Fischer Levine, LLP, be substituted as counsel for RCCL in place of Yamilet Hurtado, Esq., and

 that Ms. Hurtado be relieved of further responsibility as counsel of record for RCCL in this matter.

 As demonstrated by the attached Consent of Client, RCCL agrees to this substitution of counsel.

 A proposed Order on this stipulation is attached hereto as Exhibit A.



             [Signature Block, Certificate of Service, and Consent of Client to Follow]




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 Dated: January 28, 2022                   Respectfully submitted,


 ROYAL CARIBBEAN CRUISES LTD.              SANCHEZ FISCHER LEVINE, LLP
 1050 Caribbean Way                        1200 Brickell Avenue, Suite 750
 Miami, Florida 33132                      Miami, Florida 33131
 Telephone: (305) 539-6334                 Telephone: (305) 925-9947

 By: /s/_Yamilet Hurtado____               By: /s/ David M. Levine
 Yamilet Hurtado, Esq.                     David M. Levine, Esq.
 Email: yhurtado@rccl.com                  Email: dlevine@sfl-law.com
 Florida Bar No.: 95607                    Secondary email: eservice@sfl-law.com
                                           Florida Bar No.: 84431
                                           Paola Sanchez Torres, Esq.
                                           Email: psanchez@sfl-law.com
                                           Florida Bar No.: 99639
                                           Counsel for Royal Caribbean Cruises Ltd.




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                                     CONSENT OF CLIENT

        I have reviewed the above Stipulation for Substitution of Counsel, and do hereby consent

 to the terms and conditions of the stipulation.

 Dated: January 28, 2022

                                               __/s/ Ernesto Miguel Rubi           _
                                               By: Ernesto Miguel Rubi
                                               Associate Vice President, Associate Counsel
                                               Royal Caribbean Cruises Ltd.




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                               CERTIFICATE OF SERVICE

        I CERTIFY that on January 28, 2022, the foregoing document was e-filed through the

 ECF/CMF system, which will serve all counsel of record.

                                                   By: /s/ David M. Levine        .
                                                   David M. Levine, Esq.




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